UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:
                                               Case No.: 20-10322-CLB
The Diocese of Buffalo, N.Y.,                  Chapter: 11

                    Debtor.


                                  NOTICE OF FILING

         PLEASE TAKE NOTICE that, in accordance with the Order entered July 9,

2020 [Docket No. 442] Nunc Pro Tunc to February 28, 2020, Connors LLP has filed

the Monthly Fee Statement of Connors LLP for Compensation for Services

Rendered and Reimbursement of Expenses as Special Counsel to The Diocese of

Buffalo, N.Y., for the Period September 1, 2023 – September 30, 2023, a copy of

which is attached hereto and hereby served upon you.


DATED:        Buffalo, New York
              October 23, 2023


                                             s/ Randall D. White
                                             Randall D. White, Esq.
                                             CONNORS LLP
                                             Special Counsel for Debtor
                                             The Diocese of Buffalo, N.Y.
                                             1000 Liberty Building
                                             Buffalo, New York 14202
                                             (716) 852-5533




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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:
                                               Case No.: 20-10322-CLB
The Diocese of Buffalo, N.Y.,                  Chapter: 11

                     Debtor.


            MONTHLY FEE STATEMENT OF CONNORS LLP
         FOR COMPENSATION FOR SERVICES RENDERED AND
       REIMBURSEMENT OF EXPENSES AS SPECIAL COUNSEL TO
                  THE DIOCESE OF BUFFALO, N.Y.
   FOR THE PERIOD SEPTEMBER 1, 2023 THROUGH SEPTEMBER 30, 2023

Name of Applicant:                         Connors LLP

Authorized to Provide                      The Diocese of Buffalo, N.Y.,
Professional Services to:                  Debtor-in-Possession

Date of Retention:                         Order entered July 9, 2020 [Docket No.
                                           442] Nunc Pro Tunc to February 28,
                                           2020

Period for which compensation              September 1, 2023 – September 30, 2023
and reimbursement is sought:

Amount of compensation sought              80% of $14,235.00 ($11,388.00)
as actual, reasonable, and
necessary:

Amount of expense                          $611.29
reimbursement sought as actual,
reasonable, and necessary:


This is a:    X monthly ___ quarterly ___ final application.

This is the          monthly fee statement of Connors LLP in this case.




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                                     CONNORS LLP
                                    1000 Liberty Building
                                     Buffalo, NY 14202
                                   TAX ID NO. XX-XXXXXXX

                                        October 20, 2023


                                                              Invoice#     39931           RDW
DIOCESE OF BUFFALO                                            Our file#      002700        00006
795 Main Street                                               Billing through         09/30/2023
Buffalo, NY 14203

MISCELLANEOUS MATTERS
PROFESSIONAL SERVICES
09/01/2023 LFQ   (Independent Review Board)                0.50 hrs.       250 /hr      125.00
                 Prepare for next Independent
                 Review Board meeting.
09/01/2023   LFQ    (Misc) Review new complaint            1.30 hrs.       250 /hr      325.00
                    (.4); communication with
                    Chancery representatives
                    regarding same (.7);
                    communication with claimant's
                    attorney regarding same (.2).
09/05/2023   LFQ    (Misc) Work on new allegation          1.40 hrs.       250 /hr      350.00
                    of past adult abuse (.5);
                    communication with Victim
                    Assistance Coordinator and
                    Chancery representative
                    regarding meeting with
                    complainant (.6); communication
                    with attorney for claimant (.3).
09/08/2023   RMV    (Misc) Prepare for upcoming            2.60 hrs.       100 /hr      260.00
                    audit by reviewing recent claims.
09/09/2023   LFQ    (Independent Review Board)             0.80 hrs.       250 /hr      200.00
                    Communications with
                    Independent Review Board
                    Chair regarding new complaint
                    (.2); communication with
                    investigator regarding same and
                    regarding next Independent
                    Review Board meeting (.4);
                    communication with Chancery
                    representative regarding same
                    (.2).
09/09/2023   TMC    (Independent Review Board)        0.60 hrs.    250 /hr     150.00
                    Receiving information from a
                    number of sources regarding
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                 Independent Diocesan Review
                 Board matter.
09/11/2023   TMC   (Independent Review Board)              0.80 hrs.      250 /hr       200.00
                   Calls with attorney for priest
                   regarding status and priest's
                   Independent Review Board
                   matter (.5); providing this
                   information to Lawlor F.
                   Quinlan III (.3).
09/11/2023   LFQ   (Independent Review Board)              0.40 hrs.      250 /hr       100.00
                   Communication with Chancery
                   representative regarding
                   Independent Review Board
                   meeting.
09/11/2023   LFQ   (Misc) Communication with               0.60 hrs.      250 /hr       150.00
                   attorney for claimant regarding
                   use of proof of claim and
                   participation in investigation
                   (.4); work with investigator
                   regarding same (.2).
09/12/2023   LFQ   (Independent Review Board)              2.50 hrs.      250 /hr       625.00
                   Work on documents for next
                   week's Independent Review
                   Board meeting (2.1);
                   communication with investigator
                   for completing reports for next
                   week's meeting (.4).
09/14/2023   LFQ   (Independent Review Board)              1.80 hrs.      250 /hr       450.00
                   Calls with Independent Review
                   Board Chair regarding next
                   week's meeting (.3); work on
                   documents regarding same (1.0);
                   communications with Victims
                   Assistance Coordinator
                   regarding new complaints (.3);
                   communications with
                   investigator regarding same (.2).
09/18/2023   TMC   (Independent Review Board)              1.20 hrs.      250 /hr       300.00
                   Receiving background
                   information in connection with
                   priest's matter (.4); providing
                   same to Lawlor F. Quinlan III
                   for his presentation to the
                   Independent Review Board (.4);
                   confer with counsel for other
                   NYS dioceses regarding OAG
                   and FOIL issues (.4).

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09/18/2023   LFQ   (Independent Review Board)              4.00 hrs.      250 /hr      1,000.00
                   Review new reports from
                   Victims Assistance Coordinator
                   (.5); communication with
                   Independent Review Board
                   Chair regarding same and
                   tomorrow's meeting (.4);
                   communications with attorneys
                   for priest (.3); communications
                   with investigator regarding
                   pending investigations and
                   tomorrow's meeting (.2); work
                   on materials for tomorrow's
                   Independent Review Board
                   meeting (2.1); communication
                   with auditor (.3); prepare for
                   audit (.2).
09/19/2023   LFQ   (Independent Review Board)              4.50 hrs.      250 /hr      1,125.00
                   Prepare for and participate in
                   Independent Review Board
                   meeting (4.0); meeting with
                   Independent Review Board
                   Chair regarding issues addressed
                   at meeting (.5).
09/20/2023   LFQ   (Misc) Communication with               0.30 hrs.      250 /hr        75.00
                   Chancery representative
                   regarding policies.
09/21/2023   TMC   (Misc) Conference call with an          0.50 hrs.      250 /hr       125.00
                   attorney for a parent who had
                   some issues with the operation of
                   a school and efforts to try and
                   resolve these issues
                   satisfactorily.
09/25/2023   LFQ   (Misc) Prepare for audit by             5.00 hrs.      250 /hr      1,250.00
                   reviewing all claims that have
                   come in during the past year and
                   all documents regarding their
                   handling (4.5); work on
                   documents to assist with audit
                   (.5).
09/25/2023   LFQ   (Independent Review Board)              1.10 hrs.      250 /hr       275.00
                   Work on documents decided
                   upon at Independent Review
                   Board meeting (.8);
                   communication with
                   Independent Review Board
                   Chair regarding same (.3).

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09/25/2023   RDW   (Misc) Conference with Terrence           0.30 hrs.      250 /hr        75.00
                   M. Connors and Lawlor F.
                   Quinlan III regarding upcoming
                   meeting with monitor.
09/25/2023   RMV   (Misc) Compile information to             0.60 hrs.      100 /hr        60.00
                   help prepare Lawlor F. Quinlan
                   III for upcoming audit.
09/25/2023   EJG   (Misc) Assist Lawlor F. Quinlan           0.60 hrs.      100 /hr        60.00
                   III with preparation for the audit.
09/26/2023   LFQ   (Independent Review Board)                0.30 hrs.      250 /hr        75.00
                   Work on documents requested
                   by Independent Review Board
                   Chair.
09/26/2023   LFQ   (Misc) Prepare for audit (.7);            3.50 hrs.      250 /hr       875.00
                   appear for questioning by
                   auditors (2.8).
09/26/2023   EJG   (Misc) Assisting Lawlor F.                0.70 hrs.      100 /hr        70.00
                   Quinlan III with documents
                   needed for the 2023 audit.
09/27/2023   LFQ   (Misc) Assist Chancery                    0.50 hrs.      250 /hr       125.00
                   representative with questions for
                   audit.
09/28/2023   LFQ   (Independent Review Board)                1.20 hrs.      250 /hr       300.00
                   Communications with
                   Independent Review Board
                   Chair regarding various issues
                   (.4); work on documents related
                   to last Independent Review
                   Board meeting (.3);
                   communications with
                   Independent Review Board
                   member regarding same (.2);
                   communications with
                   Independent Review Board
                   members regarding policies to be
                   reviewed and potentially revised
                   (.3).
09/29/2023   LFQ   (Misc) Communication with                 0.50 hrs.      250 /hr       125.00
                   investigator regarding problems
                   connecting with accuser (.3);
                   communication with accuser's
                   attorney in attempts to resolve
                   same (.2).
09/30/2023   RDW   (Misc) Preparation of seventh             0.50 hrs.      250 /hr       125.00
                   interim fee application.


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                          Total fees for this matter                          $8,975.00

BILLING SUMMARY
Connors, Terrence M.      Partner            3.10 hrs             250 /hr        775.00
White, Randall D.         Partner            0.80 hrs             250 /hr        200.00
Quinlan, Lawlor F. III    Partner           30.20 hrs             250 /hr      7,550.00
Valkwitch, Rachel M.      Legal              3.20 hrs             100 /hr        320.00
                          Assistant
Gay, Emily J.             Legal              1.30 hrs             100 /hr       130.00
                          Assistant
TOTAL FEES                                  38.60 hrs                         $8,975.00
TOTAL CHARGES FOR THIS BILL                                                   $8,975.00




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                                      CONNORS LLP
                                     1000 Liberty Building
                                      Buffalo, NY 14202
                                    TAX ID NO. XX-XXXXXXX

                                         October 20, 2023


                                                               Invoice#     39932           RDW
DIOCESE OF BUFFALO                                             Our file#      002700        00040
795 Main Street                                                Billing through         09/30/2023
Buffalo, NY 14203

NYSAG SUBPOENA
PROFESSIONAL SERVICES
09/08/2023 LFQ   Review decision of Office of               0.30 hrs.       250 /hr       75.00
                 Attorney General and forward to
                 team with comments.
09/11/2023   LFQ    Communication with team                 0.60 hrs.       250 /hr      150.00
                    regarding response to the letter
                    from Office of Attorney General.
09/12/2023   LFQ    Review past correspondence              1.60 hrs.       250 /hr      400.00
                    with Office of Attorney General
                    in 2022 and compare to recent
                    response of Office of Attorney
                    General (.5); prepare for and
                    participate in conference call
                    with team regarding next steps
                    (.8); communications with Jones
                    Day attorneys regarding
                    follow-up (.3).
09/13/2023   LFQ    Communication with team                 0.30 hrs.       250 /hr       75.00
                    regarding obtaining additional
                    information for appeal.
09/14/2023   LFQ    Prepare for and participate in call     0.90 hrs.       250 /hr      225.00
                    with team regarding appeal of
                    Office of Attorney General
                    determination (.7); research
                    regarding potential Article 78
                    proceeding (.2).
09/14/2023   TMC    Preparation for and participation       0.60 hrs.       250 /hr      150.00
                    in conference call with attorneys
                    for other NYS dioceses
                    regarding status of
                    investigations.
09/19/2023   LFQ    Work on FOIL research and         3.10 hrs.    250 /hr     775.00
                    exceptions (2.0); work on appeal
                    of FOIL officer's decision (1.1).
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09/20/2023    LFQ    Work on appeal (2.0); work on            3.60 hrs.        250 /hr        900.00
                     research to help with potential
                     Article 78 proceeding (1.4);
                     communications with Jones Day
                     attorneys regarding same (.2).
09/21/2023    LFQ    Work on letter to Office of              0.90 hrs.        250 /hr        225.00
                     Attorney General (.2); participate
                     in call with team (.7).
09/25/2023    LFQ    Work on appeal of decision of            0.80 hrs.        250 /hr        200.00
                     records officer (.6);
                     communication with team
                     regarding same (.2).
09/26/2023    LFQ    Finalize appeal (.5);                    0.70 hrs.        250 /hr        175.00
                     communications regarding same
                     (.2).
09/28/2023    TMC    Preparation for and participation        0.70 hrs.        250 /hr        175.00
                     in a conference call with
                     attorneys for other NYS dioceses
                     regarding status of investigations
                     (.5); memo to file (.2).
                             Total fees for this matter                                    $3,525.00
DISBURSEMENTS
09/30/2023 COMPUTER RESEARCH - WESTLAW                                                         69.39
               Total disbursements for this matter                                            $69.39

BILLING SUMMARY
Connors, Terrence M.         Partner             1.30 hrs            250 /hr                  325.00
Quinlan, Lawlor F. III       Partner           12.80 hrs             250 /hr                3,200.00
TOTAL FEES                                      14.10 hrs                                  $3,525.00
TOTAL DISBURSEMENTS                                                                          $69.39
TOTAL CHARGES FOR THIS BILL                                                                $3,594.39




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                                      1000 Liberty Building
                                       Buffalo, NY 14202
                                     TAX ID NO. XX-XXXXXXX

                                          October 20, 2023


                                                                Invoice#     39933           RDW
DIOCESE OF BUFFALO                                              Our file#      002700        00046
795 Main Street                                                 Billing through         09/30/2023
Buffalo, NY 14203

CHILD VICTIMS ACT
PROFESSIONAL SERVICES
09/01/2023 RDW Review of file regarding                      1.00 hrs.       250 /hr      250.00
                 bankruptcy notice issues (.4);
                 review of potential document
                 issues (.3); email to BSK
                 regarding both of above (.3).
09/02/2023   RDW     Continue review of file and             1.00 hrs.       250 /hr      250.00
                     analysis of potential document
                     issues.
09/06/2023   TMC     Review of the opposition of the         0.40 hrs.       250 /hr      100.00
                     Diocese to the stay motion at the
                     request of the Diocese.
09/06/2023   RDW     Review of opposition to motion          0.20 hrs.       250 /hr       50.00
                     regarding stay; email regarding
                     above.
09/08/2023   RDW     Review of motion for sanctions          0.40 hrs.       250 /hr      100.00
                     for stay violation regarding CVA
                     state court action.
09/14/2023   RDW     Receipt of insurer's request for        0.40 hrs.       250 /hr      100.00
                     information regarding two
                     claims (.3); emails with
                     paralegal, Emily J. Gay
                     regarding above (.1).
09/15/2023   RDW     Research regarding response to          2.80 hrs.       250 /hr      700.00
                     insurer's information request
                     regarding two claims (2.4); email
                     to Blank Rome regarding above
                     (.4).
09/15/2023   EJG     Assisting Randall D. White with         0.10 hrs.       100 /hr       10.00
                     an inquiry from Blank Rome.
09/18/2023   TMC    Review the Creditors' Committee   0.30 hrs.    250 /hr       75.00
                    motion to serve non-party
                    document subpoenas and take
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                 non-party depositions in
                 pursuant of diocesan coverage.
09/18/2023   RDW    Review of Creditors Committee           0.40 hrs.        250 /hr        100.00
                    motion for non-party document
                    production and deposition
                    regarding insurance.
                           Total fees for this matter                                    $1,735.00
DISBURSEMENTS
09/29/2023 AUG MONTHLY HOSTING/DATA STORAGE                                                 541.90
                Total disbursements for this matter                                        $541.90

BILLING SUMMARY
Connors, Terrence M.       Partner            0.70 hrs             250 /hr                  175.00
White, Randall D.          Partner            6.20 hrs             250 /hr                1,550.00
Gay, Emily J.              Legal              0.10 hrs             100 /hr                   10.00
                           Assistant
TOTAL FEES                                     7.00 hrs                                  $1,735.00
TOTAL DISBURSEMENTS                                                                       $541.90
TOTAL CHARGES FOR THIS BILL                                                              $2,276.90




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